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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:13CR3139
     vs.
                                                 MEMORANDUM AND ORDER
ELDIN ALFONSO HERNANDEZ,
                  Defendants.


     IT IS ORDERED:

     1)    The motion of attorney Timothy P. Sullivan to withdraw as counsel of
           record for defendant Eldin Alfonso Hernandez, (filing no. 24), is granted.

     2)    The clerk shall delete Timothy P. Sullivan from any future ECF
           notifications herein.

     November 27, 2013.

                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
